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                          UNITED STATES DISTRICT COURT
 14                      CENTRAL DISTRICT OF CALIFORNIA
 15                             EASTERN DIVISION
 16
      HEATHER FEATHERSTONE,                  ) Case No. 5:21-cv-01869-KES
 17
            Plaintiff,                       )
 18                                          ) [PROPOSED] JUDGMENT
                   v.                        )
 19                                          )
 20   KILOLO KIJAKAZI, Acting                )
      Commissioner of Social Security,       )
 21
                                             )
 22         Defendant.                       )
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  1         The Court having approved the parties’ stipulation to remand this case
  2   pursuant to Sentence 4 of 42 U.S.C. § 405(g) for further proceedings consistent
  3   with that stipulation and for entry of judgment for Plaintiff, judgment is hereby
  4   entered for Plaintiff.
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  6
      DATED: May 31, 2022
  7                             HONORABLE JUDGE KAREN E. SCOTT
                                UNITED STATES MAGISTRATE JUDGE
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